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                       UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT CHARLESTON



RAHKEEM CHEEKS,

             Movant,

v.                                       Civil Action No. 2:16-cv-04845
                                    Criminal Action No. 2:15-cr-00137-1

UNITED STATES OF AMERICA,

             Respondent.


                       MEMORANDUM OPINION AND ORDER


             This action was previously referred to Dwane L.

Tinsley, United States Magistrate Judge, who has submitted his

Proposed Findings and Recommendation pursuant to the provisions

of 28 U.S.C. § 636(b)(1)(B).


             The court has reviewed the Proposed Findings and

Recommendation entered by the magistrate judge on May 30, 2018.

The magistrate judge recommends that the court “deny [Movant’s]

Motion to Vacate, Set Aside, or Correct Sentence, pursuant to 28

U.S.C. § 2255 and dismiss this civil action from the docket of

the court.”      (ECF #46 at 9 (emphasis and citation omitted).)

The movant, proceeding pro se, has not objected to the Proposed

Findings and Recommendation.
                             ORDER AND NOTICE
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           Pursuant to L.R. Civ. P. 16.1, it is ORDERED that the
following dates are hereby fixed as the time by or on which
certain events must occur:
                 Accordingly, it is ORDERED that:
01/28/2016      Motions under F.R. Civ. P. 12(b), together with
                supporting briefs, memoranda, affidavits, or other
                such matter
       1. The Proposed        in support
                          Findings        thereof. (All motions
                                    and Recommendations    be, and hereby
                unsupported by memoranda will be denied without
                prejudice
          is, adopted    by pursuant to L.R. Civ. P. 7.1 (a)).
                             the court;
02/08/2016    Last day    for Rule 26(f) meeting.
       2. The movant’s    motion to vacate, set aside, or correct his
02/15/2016    Last day    to file Report of Parties= Planning
              Meeting.
          sentence be,     Seehereby
                          and  L.R. Civ. P. 16.1.and
                                     is, denied;

       3. This Scheduling
02/22/2016      action be, conference
                            and hereby at
                                        is,4:30
                                             dismissed
                                                p.m. atwith
                                                        the prejudice
                                                            Robert C. and
               Byrd United States Courthouse in Charleston, before
          removed
               the from the docket
                   undersigned,     of the
                                 unless      court. Lead counsel
                                          canceled.
               directed to appear.
02/29/2016      Entry of scheduling
                 The Clerk          order.
                           is directed to forward copies of this

03/08/2016    Last day
     written opinion andtoorder
                           servetoF.R.
                                    all Civ. P 26(a)(1)
                                         counsel        disclosures.
                                                 of record, to any

          The Clerkparties,
     unrepresented  is requested
                            and totothe
                                     transmit
                                        United this Order
                                                States    and
                                                       Magistrate
Notice to all counsel of record and to any unrepresented
     Judge.
parties.
                                         DATED: June
                                         ENTER:  January 5, 2016
                                                     21, 2018


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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